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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAORLINA
                                     COLUMBIA DIVISION

Deborah Pace,                                  )        Case No.:      3:14-1153-TLW
                                               )
                  Plaintiff,                   )
                                               )
                   v.                          )                 COMPLAINT
Wal-Mart Stores, Inc. d/b/a Sam’s              )
Wholesale Club,                                )
                                               )
                  Defendant.                   )

        The Plaintiff above named, complaining of the Defendant herein, would respectfully show

unto the Court:

        1.        The Plaintiff is a citizen and resident of the Palm Beach County, State of Florida.

        2.        The Defendant is, upon information and belief, a corporation, company or entity

organized and existing pursuant to the laws of the state of South Carolina and does conduct

business in and maintain agents, servants, and employees in the County of Lexington, State of

South Carolina.

        3.        At all times herein mentioned and in regard to all matters herein mentioned the

Defendant acted by and through its agents, servants, and employees, who were at all times acting

within the course and scope of their agency and employment, and for whose acts and omissions the

Defendant is liable.

        4.        On or about August 27, 2011, the Plaintiff who was a shopping customer and

invitee and who had the right to assume that the floor in the Defendant’s store was maintained by

the Defendant in a reasonably safe condition for public use; was shopping at Sam’s Wholesale

Club located at 350 Harbison Boulevard, Columbia, South Carolina; when she slipped on a grape

on the floor and fell suffering multiple injuries.
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       5.      The grapes were on the floor as a result of employees of Defendant Sam’s who were

passing out grapes to customers of Sam’s for sampling as they shopped in an attempt to promote

the grapes and/or sell the grapes to customers on the Defendant’s premises.

       6.      By passing out grapes to customers the Defendant’s employees further distracted the

Plaintiff from potentially discovering grapes on the floor and enticed the Plaintiff into encountering

the area and the dangerous condition which was specifically created by the reckless conduct and

actions of the Defendant.

       7.      The aforementioned incident was a direct and proximate result of the negligence and

the recklessness of the Defendant, as follows:

               a.   In carelessly dropping grapes on the floor and failing to pick them up in a
                    timely manner;

               b.   In enticing customers into the dangerous area and distracting them with
                    grapes;

               c.   In failing to warn customers of grapes being on the floor in the area;

               d.   In allowing employees to pass out grapes for sampling purposes which
                    created a hazardous area and potential for grapes to be on the floor;

               e.   In failing to regularly inspect and maintain the grape sampling area/produce
                    department to prevent grapes from being on the floor;

               f.   In failing to warn customers and visitors of a dangerous condition which the
                    Defendant was aware of;

               g.   In maintaining their store in an unreasonably dangerous condition which was
                    not obvious to customers, guests or visitors;

               h    In failing to regularly inspect the grape sampling area and make the area
                    safe for customers;

               i.   In allowing a dangerous condition to exist which the Defendants knew or
                    should have known was hazardous to customers, guests and visitors;




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               j.      in failing to use the degree of care and caution a reasonable and prudent
                       person would have used under the same or similar circumstances;

               k.      and in such other particulars as the evidence at trial may show.

       8.      As a direct and proximate result of the negligence and recklessness of the Defendant

the Plaintiff was injured as follows:

               a.      suffered severe, traumatic and permanent injury to her left knee, back, legs
                       and body;

               b.      incurred substantial medical expenses and will continue to incur such
                       expenses in the future;

               c.      suffered severe pain and mental anguish and will continue to so suffer in the
                       future;

               d.      suffered an impairment in her ability to enjoy life; and will so in the future;

               e.      and suffered a loss of wages and an impairment in her ability to earn wages
                       in the future.

       9.      As a result of the negligence and recklessness of the Defendant which injured the

Plaintiff, the Plaintiff is informed and believes she is entitled to recover actual and punitive

damages against the Defendant.

            WHEREFORE, the Plaintiff prays for judgment against the Defendant in an amount in

excess of Seventy Five Thousand ($75,000.00) Dollars, actual and punitive damages, for the costs

of this action, and for such other and further relief as the Court may deem just and proper.


                                                       s/Pamela R. Mullis___________
                                                       Pamela R. Mullis, Fed. I.D. # 7254
                                                       MULLIS LAW FIRM
                                                       Post Office Box 7757
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March 26, 2014                                         (803) 799-9577
JURY TRIAL REQUESTED.                                  ATTORNEY FOR THE PLAINTIFF




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